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IN THE US DISTRICT COURT

FOR THE MIDDLE DISTRICT OF GEORGIA. gy ¢ jc E®
MACON DIVISION * Pasa c SRURT
Karen M Owens ) OS MAY -9 AM 9: 29
Plaintiff, )
) DEPUTY CLERK
)
) Civil Case No.: 5:04—CV—108(CAR)
)
)
John E Potter )
Defendant, )

MOTION FOR RESTORATION OF TIME

Comes now the Plaintiff in the above styled action and respectfully asks the court to grant an
extension of time in the amount of forty-five (45) days from the date of this filing. Plaintiff
justification for this request is outlined in Plaintiffs Motion To Reopen Discovery and Plaintiffs
Motion for the Denial of Defendant’s Motion For Partial Dismissal And Or Partial Summary

Judgment.

Given this S | Ly day of May 2005.

hen M Owens, Plaintiff

 
